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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION

ASHTON AMBROSE AND B.D., BY                 :
AND THROUGH HIS PARENT,                     :
ASHTON AMBROSE,                             :
                                            :
      Plaintiffs,                           :     Case No:
                                            :     3:22-cv-392-MMH-PDB
      v.                                    :
                                            :
ST. JOHNS COUNTY SCHOOL BOARD               :
                                            :
      Defendant.                            :

                    JOINT STIPULATION OF DISMISSAL

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), and the Court’s

May 12, 2023 Order, Plaintiffs Ashton Ambrose and B.D., by and through his

parent, Ashton Ambrose, and Defendant St. Johns County School Board, by and

through their attorneys, respectfully and jointly submit this Stipulation of

Dismissal of this action with prejudice, with each party bearing their own

attorney’s fees and costs.

 /s/Lauren Brittany Eversole             /s/Kristen C. Diot
 LAUREN BRITTANY EVERSOLE                KRISTEN C. DIOT
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 Attorneys for Plaintiffs
                                         Attorneys for Defendant
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                         CERTIFICATE OF SERVICE

      I, Lauren Brittany Eversole, certify that a true and correct copy of the

foregoing was electronically filed in the U.S. District Court, Middle District of

Florida, using the CM/ECF system, which will send a notice of electronic filing to

all counsel of record.


Dated: May 24, 2023

                                                   /s/ Lauren Brittany Eversole
                                                   Lauren Brittany Eversole
                                                   Disability Rights Florida
                                                   2473 Care Drive, Suite 200
                                                   Tallahassee, FL 32308
